Case 23-12825-MBK Doc 614-17 Filed 05/26/23 Entered 05/26/23 23:11:45     Desc
             Exhibit 16 to Declaration of Daniel J. Merrett Page 1 of 4



                                 EXHIBIT 16
Case 23-12825-MBK Doc 614-17 Filed 05/26/23 Entered 05/26/23 23:11:45     Desc
             Exhibit 16 to Declaration of Daniel J. Merrett Page 2 of 4



                         UNITED STATES BANKRUPTCY COURT
                             DISTRICT OF NEW JERSEY

      IN RE:                   .         Case No. 21-30589(MBK)
                               .
      LTL MANAGEMENT LLC,      .
                               .
                Debtor.        .
       . . . . . . . . . . . . .
      LTL MANAGEMENT, LLC,     .         Adversary No. 21-03032(MBK)
                               .
                Plaintiff,     .
                               .         Clarkson S. Fisher U.S.
      v.                       .           Courthouse
                               .         402 East State Street
      THOSE PARTIES LISTED ON .          Trenton, NJ 08608
      APPENDIX A TO THE        .
      COMPLAINT, ET AL.,       .
                               .         Friday, February 18, 2022
                Defendants.    .         9:01 a.m.
       . . . . . . . . . . . . .

                          TRANSCRIPT OF TRIAL DAY FIVE
                     BEFORE THE HONORABLE MICHAEL B. KAPLAN
                      UNITED STATES BANKRUPTCY COURT JUDGE

      APPEARANCES:

      For the Debtor:              Jones Day
                                   By: GREGORY M. GORDON, ESQ.
                                        DANIEL B. PRIETO, ESQ.
                                        AMANDA RUSH, ESQ.
                                   2727 North Harwood Street, Suite 500
                                   Dallas, TX 75201

                                   Jones Day
                                   By: ROBERT W. HAMILTON, ESQ.
                                   325 John H. McConnell Blvd., Suite 600
                                   Columbus, Ohio 43215-2673


      Audio Operator:              Wendy Romero

      Proceedings recorded by electronic sound recording, transcript
                     produced by transcription service.
      ______________________________________________________________

                           J&J COURT TRANSCRIBERS, INC.
                               268 Evergreen Avenue
                            Hamilton, New Jersey 08619
                           E-mail: jjCourt@jjCourt.com
                     (609) 586-2311    Fax No. (609) 587-3599
Case 23-12825-MBK Doc 614-17 Filed 05/26/23 Entered 05/26/23 23:11:45      Desc
             Exhibit 16 to Declaration of Daniel J. Merrett Page 3 of 4

                                                                                  57
   1 as a start here just to not even have to argue about this issue

   2 of whether there's undercapitalization or unfairness or harm.

   3 We just wanted to be past that issue.          We want to get to the

   4 guts of this case, which is to negotiate an agreement on a

   5 resolution of the talc claims.

   6              Now the funding agreement, I want to spend a little

   7 time on this because it's obviously extremely important to

   8 understanding what the situation is.          But, again, you have two

   9 payors here.     You have not only JJCI, but you have J&J.            And

  10 part of the reason for that, Your Honor, is that in the other

  11 cases, we heard complaints about, w ell, but we're worried that

  12 the entity, the obligor, the payor in those cases is going to

  13 be dividending assets away -- dividending assets up to the

  14 parent.    At the end of the day, we're going to be left with an

  15 empty bag.

  16              And, you know, we try to learn from the other cases.

  17 And so we thought let's take that issue off the table.               We'll

  18 actually have an obligation from the ultimate parent.                So that

  19 was based on learning that we had received from the North

  20 Carolina cases, and frankly, you know, we've been criticized

  21 greatly for forum shopping and filing in North Carolina.               But

  22 part of the thinking was that we have a jurisdiction that's

  23 actually confronted some of these issues.           We tried to learn

  24 from those issue and actually address some of those issues in

  25 how things were designed in connection with the restructuring.




                                   WWW.JJCOURT.COM
Case 23-12825-MBK Doc 614-17 Filed 05/26/23 Entered 05/26/23 23:11:45     Desc
             Exhibit 16 to Declaration of Daniel J. Merrett Page 4 of 4

                                                                                 58
   1              Also, I should just point out because of all the time

   2 that was spent trying to suggest some nefarious connection

   3 between the corporate restructuring and the spinoff, the fact

   4 that J&J is now including as a payor or isn't included as a

   5 payor in this funding agreement should eliminate any concern

   6 about that because it doesn't matter.          If assets are spun out,

   7 if that actually occurs, a transaction like that occurs,

   8 there's full protection because J&J is sitting there with an

   9 obligation to pay up to the value of Old JJCI.

  10              And what's important, unlike the other cases, this

  11 funding agreement sets the floor on the value.            It sets a

  12 floor.    So whatever the value was basically the day because the

  13 restructuring, that value is locked in.          So it can only go up.

  14 It can't go down.      That's unlike other cases where it's

  15 potentially the payor based on developments with its business

  16 operations or what have you, you know, could suffer some

  17 diminution in value.       That can't happen here.

  18              There's another reason for doing this, again, to try

  19 to eliminate some of the objections and concerns that we heard

  20 with respect to the earlier funding agreements.

  21              THE COURT:    Mr. Gordon, you said value of Old JJCI.

  22 It's the value of New JJCI, is it not, under the funding

  23 agreement?

  24              MR. GORDON:    Well, no, it's the value of Old JJCI.

  25 Actually, whatever that -- I hope I'm getting this right.              It's




                                   WWW.JJCOURT.COM
